                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:07cr209

UNITED STATES OF AMERICA                      )
                                              )
               vs.                            )                      ORDER
                                              )
MICHELLE WILSON (3)                           )
                                              )

       THIS MATTER is before the Court on the defendant’s Motion to Suppress Statements

(Doc. No. 45) and Motion to Sever Defendants (Doc. No. 46).

       The defendant made her initial appearance in federal court on February 5, 2008, and

counsel for the defendant appeared with her on the same date. Following arraignment on

February 8, 2008, a magistrate judge issued a Scheduling Order setting a trial date of April 7,

2008, and a pretrial motions deadline of 60 days following entry of the Order.1 (Doc. No. 27).

The trial date was continued (Doc. No. 36: Order) on the defendant’s motion (Doc. No. 34:

Motion), which recited that discovery had not been received, but made no request to extend the

motion deadline. The defendant, along with her co-defendants, moved to continue the trial date

again from June 2, 2008. (Doc. No. 43). The day after that motion was denied (Doc. No. 44), the

instant motions were filed.

       Rule 12(c) of the Federal Rules of Criminal Procedure allows courts to set deadlines for

filing pretrial motions, including motions to suppress. Here, the defendant filed her motions over

a month after the deadline stated in the Scheduling Order and shortly before the scheduled trial

       1
         Paragraph Four of that Order states:
       All pretrial motions must be in writing and must be filed within sixty (60) days
       from the date of this Arraignment Order, or the date on which counsel is
       appointed or makes a general appearance, whichever occurs last. Motions not
       timely filed will be summarily denied.


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date.2 The defendant did not request leave to file the motion late, nor did she state any cause for

doing so.3 Accordingly, the motion is subject to dismissal. United States v. Johnson, 953 F.2d

110, 115-116 (4th Cir. 1991).

       IT IS, THEREFORE, ORDERED, that the defendant’s Motion to Suppress Statements

(Doc. No. 45) and Motion to Sever Defendants (Doc. No. 46) are DENIED without prejudice.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney.

                                                 Signed: May 20, 2008




       2
           The Local Rules allow the government seven business days to respond to motions. LCrR
47.1(E).
       3
         A court may grant relief for good cause where party waives a Rule 12(b)(3) issue by
failing to comply with a Rule 12(c) deadline. Fed. R. Crim. P. 12(e).

                                                 2


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